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 4

 5 Attorney for ROSE MARIE SEGALE

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 7
                                      UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                       )   CASE NO. 19-CR-00014-MCE
                                                   )
11                                 Plaintiff,      )
                                                   )
12                                                 )
     v.                                            )
13                                                 )   STIPULATION AND ORDER TO
                                                   )   CONTINUE JUDGEMENT AND SENTENCING
14 ROSE MARIE SEGALE,                              )
                                                   )
15                                 Defendant.      )
                                                   )
16 __________________________________              )

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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19
     counsel, Miriam Hinman, Assistant United States Attorney, attorney for plaintiff; Kyle Knapp, attorney
20
     for defendant, Rose Marie Segale, that the previously scheduled sentencing date of May 7, 2020, be
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     vacated and the matter set for sentencing on June 25, 2020 at 10:00am.
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            This continuance is requested to allow counsel additional time to provide materials to probation
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     and to research several issues in order to address the guideline analysis. I have contacted Ms. Hinman
24
     and Ms. Modica and they have no objection to the additional time needed to finalize this case.
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            In light of the above request the following revised sentencing schedule is requested - Judgement
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     and Sentencing – June 25, 2020; Reply or Statement of Non - Opposition to Motion to Correct PSR due
27
            //
28
            //
               Case 2:19-cr-00014-MCE Document 70 Filed 04/09/20 Page 2 of 2


 1
     June 4, 2020; Motion to Correct PSR due May 28, 2020; Final PSR due May 21, 2020, 2017; and
 2
     Informal Objections due May 14, 2020, The draft PSR has been filed.
 3

 4

 5 Dated: April 8, 2020                                       Respectfully submitted.

 6
                                                                /s/ Kyle R. Knapp
 7                                                            Kyle R. Knapp
                                                              Attorney for Defendant, Rose Marie Segale
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10
     Dated: April 8, 2020                                     Respectfully submitted.
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12                                                              /s/ Miriam Hinman
                                                              Miriam Hinman
13                                                            Assistant U.S. Attorney
                                                              Attorney for Plaintiff
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15          IT IS SO ORDERED.

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     Dated: April 9, 2020
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